   Case: 1:14-cv-01748 Document #: 244 Filed: 08/01/14 Page 1 of 4 PageID #:2066




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS


In re: Testosterone Replacement               )      Case No. 14 C 1748
Therapy Products Liability Litigation         )      MDL No. 2545


                            This document relates to all cases

                                   CORRECTED
                         MDL CASE MANAGEMENT ORDER NO. 4

       By this order, the Court appoints plaintiffs' lead counsel, liaison counsel,

executive committee, and steering committee, as well as the organizational structure for

defense counsel. With regard to defense counsel, the Court approves and adopts

Defendants' Submission In Support of Defendants' Liaison Counsel (docket no. 149),

filed on July 3, 2014.

       A number of attorneys for various plaintiffs made a joint proposal for an

organizational structure and assignments. Other attorneys who were not part of the

joint proposal also made separate requests to be part of the organizational structure for

plaintiffs' counsel. The Court interviewed applicants for the plaintiffs' counsel positions

in open court on July 29, 2014.

       The joint proposal includes 32 attorneys in total: 3 proposed co-lead counsel;

another 7 to serve on the plaintiffs' counsel executive committee along with co-lead

counsel; a steering committee including 20 attorneys, and 2 co-liaison counsel. This is

a significantly larger group than in the "typical" product liability multi-district litigation

proceeding. Counsel have, however, made a reasonable argument that this is not the

typical MDL proceeding, largely in view of the fact that it involves claims against six

different defendants for different product forms. Some pretrial matters will involve
   Case: 1:14-cv-01748 Document #: 244 Filed: 08/01/14 Page 2 of 4 PageID #:2067




issues common to all six defendants, but some will involve issues that are defendant-

specific. The Court has some misgivings regarding the size of the group but is

persuaded, at least for the time being, that the structure and size proposed is

reasonable and appropriate. (As indicated below, the Court has added two attorneys

who were not included in the joint proposal.)

         The Court has taken into account all applicants' written submissions as well as

the oral presentations made in open court. With regard to some applicants, the Court

has also consulted with other judges who have presided over MDL proceedings in

which applicants had leadership roles. The Court has also considered the factors set

forth in Case Management Order No. 1 and in the Manual for Complex Litigation (4th) §

10.22.

         All appointments are made for a one-year period and will expire on August 15,

2015. Appointees may apply for reappointment when their term expires. A re-

application process will be established at an appropriate time in advance of the

expiration date. Counsel are advised in advance that applications for reappointment will

be required to include references to the nature and scope of the applicant's work,

including time and resources expended during the previous term.

         The Court makes the following appointments:

Co-lead counsel:             Ronald E. Johnson, Jr.
                             Trent B. Miracle
                             Christopher A. Seeger

Executive Committee:       Timothy Becker
(includes co-lead counsel) Michael Papantonio
                           Seth Katz
                           Michael London
                           Maury A. Herman
                           Michelle Kranz

                                             2
    Case: 1:14-cv-01748 Document #: 244 Filed: 08/01/14 Page 3 of 4 PageID #:2068




                           Bill Robins

Steering Committee:        Martin Crump
(includes counsel          T. Matthew Leckman
listed above)              Lawrence J. Gornick
                           Matthew Teague
                           Gregory Spizer
                           Frank Petosa
                           Kristine Kraft
                           Elwood C. Stevens, Jr.
                           Christopher Tisi
                           Arnold Levin
                           Alex H. MacDonald
                           Mark A. Hoffman
                           Dawn M. Barrios
                           Derriel C. McCorvey
                           Roger W. Orlando
                           Rachel Abrams
                           W. Mark Lanier
                           David S. Ratner
                           Yvonne Flaherty
                           Dianne Nast
                           Kathleen Chavez1

Co-Liaison Counsel:        Brian J. Perkins
                           Myron Cherry

       Plaintiffs' co-lead counsel are directed to promptly prepare, and provide to the

Court by no later than August 7, 2014, a draft order embodying the Court's

appointments and spelling out the responsibilities of co-lead counsel, the executive

committee, the steering committee, and co-liaison counsel. The order may also include

other matters that co-lead counsel, the executive committee, or the steering committee

consider to be appropriate for inclusion in the order. Any objections to the form or

content of the order must be filed by no later than August 11, 2014.

1
  Ms. Chavez applied for a position on the steering committee. She did not appear at
the July 29, 2014 hearing. One of her law partners orally advised the Court that Ms.
Chavez's application was being withdrawn in consideration of the fact that the partner
had also applied. The Court respectfully declines to accept the withdrawal of Ms.
Chavez's application and hereby appoints her to the steering committee.
                                              3
   Case: 1:14-cv-01748 Document #: 244 Filed: 08/01/14 Page 4 of 4 PageID #:2069




      Defendants' liaison counsel, as designated in defendants' joint submission of July

3, 2014, is directed to promptly prepare and circulate among "lead counsel" for each

defendant, and is to propose to the Court by no later than August 7, 2014, a draft order

embodying the Courts appointment(s) and spelling out the responsibilities of the

counsel thus appointed. The order may also include other matters that liaison counsel

and any defendant's "lead counsel" consider to be appropriate for inclusion in the order.

Any objections to the form or content of the order must be filed by no later than August

11, 2014.

      It is so ordered.


                                                ________________________________
                                                     MATTHEW F. KENNELLY
                                                     United States District Judge
Date: July 31, 2014




                                            4
